

People v Davalos (2023 NY Slip Op 03313)





People v Davalos


2023 NY Slip Op 03313


Decided on June 20, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 20, 2023

Before: Webber, J.P., Oing, Gesmer, González, Pitt-Burke, JJ. 


Ind. No. 4335/09 Appeal No. 491 Case No. 2017-2686 

[*1]The People of the State of New York, Respondent,
vRaphael Davalos, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katherine M.A. Pecore of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Shera Knight of counsel), for respondent.



Order, Supreme Court, Bronx County (Efrain Alvarado, J.), entered on or about December 22, 2016, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-c), unanimously affirmed, without costs.
The court's assessment of 15 points under the risk factor for causing physical injury was supported by clear and convincing evidence. The grand jury testimony describing defendant's violent attack, in which he inflicted bruises, abrasions, red marks, and resultant pain and soreness, supports an inference of the requisite substantial, that is, "more than slight or trivial" pain (People v Chiddick, 8 NY3d 445, 447 [2007]; see People v Guidice, 83 NY2d 630, 636 [1994]; People v Sierra, 132 AD3d 460, 460 [1st Dept 2015], lv denied 26 NY3d 916 [2016]). The record fails to support
defendant's assertions that the court employed the wrong legal standard or improper criteria in assessing these points. 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 20, 2023








